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                    UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION
 EVDOKIA NIKOLOVA                 §
 Plaintiff,                       §
                                  §
 V.                               §        CASE NO. 1:19-cv-00877-RP
                                  §
 UNIVERSITY OF TEXAS AT AUSTIN,   §
 Defendant.                       §

               PLAINTIFF’S RESPONSE TO DEFENDANT’S OBJECTIONS
                    TO PLAINTIFF’S COMPARATOR EVIDENCE

TO THE HONORABLE JUDGE PITMAN:

       Defendant objects to Plaintiff’s Exhibits 130 and 142 through 180 and asks for a pretrial

ruling on these exhibits to help with pretrial preparation. Plaintiff similarly requests a pretrial

ruling on these which will also assist both parties in identifying what evidence might be referred

to in the parties’ opening statements to the jury.

       I.       Plaintiff’s Comparator Exhibits All Relate To “Similarly Situated” Assistant
                Professors In The Cockrell School of Engineering.

       Plaintiff has carefully selected and offered comparator exhibits that consist of evidence

related to “similarly situated” and “nearly identical” Assistant Professors, who like Dr. Nikolova

were Assistant Professors of Engineering in the Cockrell School of Engineering (“Cockrell

School”) during academic years 2013-14 through 2019-20. Like Dr. Nikolova, all were considered

and evaluated for tenure by Cockrell School Dean Sharon Wood and Greg Fenves, either in his

role as UT President or Provost (the second highest position at the university) during Nikolova’s

employment at UT. All show inconsistent and more favorable treatment to male Assistant

Professors and a Female Assistant Professor in the Cockrell School who were not pregnant during

their tenure track period before being approved for tenure. Defendant’s objections to these exhibits

have no merit because Plaintiff has presented abundant evidence that each comparator exhibit is


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relevant to the case at hand and meets the Fifth Circuit’s relatively stringent requirements for

“similarly situated” and “nearly identical” employees articulated in cases such as Lee v. Kan. City

S. Ry. Co., 574 F.3d 253, 260 (5th Cir. 2009). Defendant will certainly be able to argue to the jury

that these Assistant Professors’ cases were different, which accounts for the difference in

treatment.

       II.     Whether Employees Are Similarly Situated Presents A Question of Fact For
               The Jury.

       The Fifth Circuit has recently and clearly held that “whether two employees are ‘similarly

situated’ generally presents a question of fact for the jury.” Wallace v. Seton Family of Hosps.,

777 F. App'x 83, 89 (5th Cir. 2019) (citations omitted, emphasis added). Wallace specifically held

that an employer’s arguments that employees were not “nearly identical” raised fact issues for the

jury. Id. at 89-90. Similarly, in Polanco v. City of Austin, 78 F.3d 968, 977 (5th Cir. 1996), the

Fifth Circuit rejected the employer’s argument that evidence of two comparators admitted at trial

did not support the verdict, holding that “a reasonable juror could have disregarded the City's

arguments that the men were not similarly situated . . .” Additionally, the Fifth Circuit has held

that a trial court's ruling on relevancy of evidence relating to the admission of comparator evidence

“will not be disturbed absent a clear showing of an abuse of discretion.” Powell v. Rockwell Int'l

Corp., 788 F.2d 279, 283 (5th Cir. 1986).

       Defendant incorrectly claims that “if the would-be comparator is not situated similarly to

the plaintiff, the evidence is not relevant as a matter of law” (Dkt. 69 at 3), citing to Perez v. Tex.

Dep’t of Criminal Justice, 395 F.3d 206, 210 (5th Cir. 2004) and Black v. Pan Am. Lab., 646 F.3d

254, 262 (5th Cir. 2011). However, neither case supports Defendant’s claim and Black actually

supports Nikolova’s position. In Black, the court upheld a jury verdict for a plaintiff and rejected

the defendant’s claim that comparator evidence introduced at trial was insufficient to support the


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verdict because it was not “nearly identical.” Instead, Black held that there was sufficient evidence

that “a jury could conclude that the differences [between plaintiff and a comparator] did not

account for their different” treatment. 646 F.3d at 263. Perez held that a district court’s jury

instructions that stated that an employee is “similarly situated” if they engaged in misconduct of

“comparable seriousness,” without more clarity, was error. The Court did not hold or even consider

the question of whether evidence of comparators who were not similarly situated was inadmissible

as a matter of law. 1

        III.     All of Plaintiff’s Contested Exhibits Meet The “Similarly Situated” and
                 “Nearly Identical” Standard.

        Defendant’s brief on its Objections (Dkt. 69 at 3) cites to a portion of this Court’s order

denying Defendant’s Motion for Summary Judgement, in which the Court discussed the standard

for “similarly situated” employees: “The employment actions being compared will be deemed to

have been taken under nearly identical circumstances when the employees being compared held

the same job or responsibilities, shared the same supervisor or had their employment status

determined by the same person, and have essentially comparable violation histories.” (Dkt. #66 at

21) (quoting Lee v. Kan. City S. Ry. Co., 574 F.3d 253, 260 (5th Cir. 2009)). Judge Pitman’s Order

continued, however, explaining that, “However, the Fifth Circuit has made clear that courts do not

“interpret ‘nearly identical’ as synonymous with ‘identical.’ This is because, when ‘applied to the

broader circumstances of a plaintiff’s employment and that of his proffered comparator, a

requirement of complete or total identity rather than near identity would be essentially

insurmountable, as it would only be in the rarest of circumstances that the situations of two

employees would be totally identical.’” (Id.) (Citations to Lee omitted). Importantly, Lee further



1
  In fact, Perez held that the defendant was not entitled to judgment as a matter of law (“JMOL”) in a case where
comparator evidence was introduced at trial that the defendant argued was not sufficiently similar.

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explained that an employer must show that the difference between the plaintiff's situation “and that

of those alleged to be similarly situated accounts for the difference in treatment received from the

employer.” Lee, 574 F.3d 260. In such a circumstance, the employees are not similarly situated.

Id.

         Defendant makes three arguments why Plaintiff’s comparators allegedly do not meet the

similarly situated/nearly identical standard:

         1. They were in a different department within the Cockrell Engineering School than

             Plaintiff;2

         2. They were in their “up or out year” versus Plaintiff who was arguably was held to a

             different standard because she was “technically early” or “accelerated”; 3 and

         3. Their case was decided when Bill Powers was UT President. 4

         All of UT’s arguments fail because they are not supported by the law or facts in this case.

      1. Being In Different Departments Within The Cockrell School Does Not Mean That
         Make Plaintiff’s Comparator Evidence Irrelevant.

         UT cites to Lee for the proposition that employees “who work for different divisions of a

company . . . generally will not be deemed similarly situated.” Lee, 574 F.3d at 259. Lee cited to

Wyvill v. United Cos. Life Ins. Co., 212 F.3d 296, 302 (5th Cir. 2000) as authority for this


2
  Zoya Heidari (Plaintiff’s Exhibits 130, 142–43, 175–180); John Foster (Plaintiff’s Exhibits 148–49); Brady Cox
(Plaintiff’s Exhibits 150–51); Navid Saleh (Plaintiff’s Exhibits 152–53); Ryosuke Okuno (Plaintiff’s Exhibits 154–
55); Salvatore Salamone (Plaintiff’s Exhibits 156–57); Hsin-Chih Yeh (Plaintiff’s Exhibits 158–59); Todd Humphreys
(Plaintiff’s Exhibits 166–67); Chadi El Mohtar (Plaintiff’s Exhibits 168–69); J. Eric Bickel (Plaintiff’s Exhibits 170–
71); Janeta Zoldan (Plaintiff’s Exhibits 174).
3
  Mikhail Belkin (Plaintiff’s Exhibits 144–45), Hsin-Chih Yeh (Plaintiff’s Exhibits 158–59), Nan Sun (Plaintiff’s
Exhibits 160–61), Vijay Janapa Reddi (Plaintiff’s Exhibits 162–63), Todd Humphreys (Plaintiff’s Exhibits 166–67);
Chadi El Mohtar (Plaintiff’s Exhibits 168–69); J. Eric Bickel (Plaintiff’s Exhibits 170–71); Andreas Gerstlauer
(Plaintiff’s Exhibits 172–73); Janeta Zoldan (Plaintiff’s Exhibits 174).
4
  Mikhail Belkin (Plaintiff’s Exhibits 144–45); Brady Cox (Plaintiff’s Exhibits 150–51); Georgios-Alex Dimakis
(Plaintiff’s Exhibits 164–65); Todd Humphreys (Plaintiff’s Exhibits 166–67); Chadi El Mohtar (Plaintiff’s Exhibits
168–69); J. Eric Bickel (Plaintiff’s Exhibits 170–71); Andreas Gerstlauer (Plaintiff’s Exhibits 172–73).


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statement. However, when Wyvill is examined, it is clear that whether an employee worked for

“different divisions” is not a true, bright-line test. Rather, Wyvill involved a case in which anecdotal

stories of age discrimination were introduced at trial from employees who worked for a “separately

incorporated entity with different management independent from [the plaintiff’s employer]. None

of the former employee witnesses was supervised by [the plaintiff’s] supervisors.” (212 F.3d 302). 5

Thus, it was the fact that the employees had different supervisors and worked for a distinct

corporate entity different from the plaintiff with different management. This is not the case with

Nikolova’s comparators. Lee made clear having the same ultimate supervisor will satisfy this

aspect of the similarly situated/nearly identical standard. (574 F.3d at 260-61). Moreover, “even if

the employees do not share an immediate supervisor,” it is sufficient if the ultimate decisionmakers

were the same. (Id.).

           Defendant’s claim that Nikolova cannot use evidence relating to assistant professors from

different departments also fails because all of the professors at issue went up for tenure in the

Cockrell School of Engineering, as did Nikolova. All were reviewed by and recommended for

tenure by Dean Wood and Greg Fenves, 6 as was Nikolova. The evidence at trial will show that

all had the same job, Assistant Professor of Engineering, all had the same responsibilities and

were evaluated on the same criteria (teaching, research including publications and grant funding,

and service) as Plaintiff Nikolova. 7              Defendant is free to argue at trial, however, that the


5
  Wyvill, who was a “branch manager” in Dalton, Georgia, also offered evidence comparing his treatment to that of
another employee who was an “area supervisor” in North Carolina who was disciplined by completely different
decision makers. (212 F.3d 302) The court held that difference in jobs, decision makers, as well as the specific issues
for which the two employees were disciplined “more than account for the difference in treatment.” (Id.)
6
    A record is not kept of the votes of the President’s Committee.
7
  Dkt. 44-1 at 208, Tewfik Dep: “Q: It’s accurate that all assistant professors have the same duties and responsibilities
and expectations, correct? [Objection “form”] A. That is correct.”); Dkt. 44-1 at 381, Fenves Dep: A. . . .The only
factors we look at are their qualifications of the faculty member in any promotion case. Q. I think we may be talking
cross purposes. So there's the question of to tenure or not tenure; and that would be where the faculty member's
qualifications in all the categories, teaching, research, service, et cetera, are reviewed, correct? A. That's correct.);

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comparisons are not appropriate because they are from different departments which accounts for

the difference in treatment. Wallace, 777 F. App'x at 89-90, Polanco, 78 F.3d at 977; Black, 646

F.3d at 263; Powell, 788 F.2d at 283.

    2. It Is For The Jury To Decide If Assistant Professors In Their “Up or Out Year” Are
       Proper Comparators Because A Fact Issue Exists As To Whether UT Evaluated
       Nikolova Differently Because She Was “Technically Early.”

        Defendant’s argument that Dr. Nikolova cannot compare herself to Assistant Professors

who were in their “up or out” year also fails and raises a fact issue for the jury. Whether a “different

standard” or “higher bar” was applied to Nikolova because she was “technically early” will be one

of the hottest issues in this case. The contradictory evidence on that point is striking: Dean Wood

wrote, “If this were an up-or-out case, I would likely agree with the recommendation of the

Promotion and Tenure committee. However, Nikolova is being considered for promotion at UT

Austin two years early.” (Dkt. 44-1 at 478). Wood testified in her deposition that because Nikolova

was “technically early” or “accelerated” she had to meet a “higher bar [in] all areas.” (Dkt. 44-1

at 644, 651-52). However, President Fenves testified, “Q. Do you recall if there was a concern

about the case being accelerated or early? A. I do not recall that being part of the discussion. . . .

Q. So the fact that Dr. Nikolova was early or accelerated was not one of the reasons why you

decided to deny tenure? A. That is correct.” Additionally, President Fenves twice wrote that

Nikolova “was not held to a higher standard” in a letter rejecting the CCAFR Committee’s decision

recommending reversal of the tenure decision. (Dkt. 42-5 at 151-52). Judge Pitman in the Order

denying summary judgment also recognized the material and contradictory evidence from ECE

Department Chair Tewfik regarding whether a different standard of review was applied to




Dkt. 44-1 at 765, General Guidelines for Tenure: “recommendations for tenure and recommendations for promotion
in rank of all faculty are to be based on excellence in performance pursuant to an evaluation of the faculty member's
contribution in the following areas: [teaching, research, service, etc.].”

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Nikolova’s case because she was “technically early.” 8 (Dkt. 66 at 7).

         In Wallace v. Seton Family of Hosps., 777 F. App'x 83, 88-89 (5th Cir. 2019), the defendant

employer argued that because the plaintiff was in her “introductory period,” evidence of

comparator employees who were not in their introductory period was not relevant because they

were not “similarly situated.” The court observed that “a reasonable jury could conclude that an

employer could properly scrutinize an introductory employee closer than a longer-term

‘permanent’ employee and be inclined to view a violation by an introductory employee more

seriously.” Id. However, this did not make the comparator evidence irrelevant or inadmissible.

Rather, the Fifth Circuit held “a material question of fact is presented as to whether the longer-

term employees—Trevino, Flores, McCaskill, and Saccamondo—were proper comparators for the

plaintiff.” Id. Similarly, in the case at hand, UT is free to argue to the jury that Nikolova was treated

differently because she was “technically early” or accelerated, and that “accounts for” the

difference in treatment. It is clear, however, that this is a fact issue for the jury to determine and

that Plaintiff’s comparator evidence is relevant and should not be excluded on this ground.

    3. Assistant Professors Whose Tenure Was Evaluated and Recommended By Dean
       Wood and Provost Fenves Are Similarly Situated Even If The Ultimate Decision
       Maker Was Former UT President Powers.

         Finally, Defendant UT argues that Plaintiff’s evidence of comparators whose tenure

decision was made while Bill Powers was president of UT (academic years 2013-14 and 2014-15)

should not be admitted because Powers was a different ultimate decision-maker than Fenves.



8
  “[W]e put somebody up for promotion. We said that it’s technically early. That’s the end of story.’ Tewfik noted
that [Nikolova’s] application was ‘technically early’ because she had been at UT for only five years and took an
extension year. He noted that she had spent two years as an assistant professor at A&M, and ‘[h]er case would not be
early if these two years of service are taken into account.’ He stated that ‘[a]ll promotion cases should be
evaluated by the well established metrics’ and that dismissing Nikolova’s promotion as early ‘will do irreparable harm
to our ability to continue to recruit highly promising assistant or associate professors from other institutions,” and to
“retain the star assistant professors that we have recently recruited from top peer departments . . . who had served 2 to
4 years as assistant professors at their initial home institutions.’” (Dkt. 66 at 7, citations omitted).

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However, in the case at hand, the evidence to be presented at trial shows that Dean Wood played

a pivotal, material role in the decision to deny tenure to Dr. Nikolova. She was the first person to

recommend against tenure, wrote an assessment allegedly explaining the reasons for her decision,

presented her recommendation to the President’s Committee which considered her opinion, which

was adopted by UT President Fenves, and then Dean Wood communicated the decision to the

candidate. 9 (Dkt. 66 at 3, 8-11, 24 and evidence cited therein. See also Dkt. 42-5 at 233.) In all of

the six comparator cases objected to because Powers was UT President at the time, Dean Wood

played the exact same, material role and had the same influence over the decision, including that

she provided a written assessment recommending for tenure of the assistant professor, presented

and discussed her decision with the President’s Committee, her recommendation was adopted by

the President, and then Dean Wood communicated the decision of the President’s Committee to

the candidate. Moreover, in all 21 Cockrell School tenure cases in academic years 2013-14 and

2014-15 when Wood was the Cockrell School Dean, the President/President’s Committee also

always followed Dean Wood’s recommendation. Plaintiff’s Trial Exhibit 226/Plaintiff’s MSJ Ex.

11, Tenure Data Excel Spreadsheet provided to the Court on flash drive.

        Additionally, in the six cases offered as evidence by Nikolova when Powers was UT

President, former President Fenves was still a decision maker and/or influencer that participated

in these tenure decisions. Fenves was Provost at the time, the second highest ranking official at

UT and the highest-ranking member of the President’s Committee (other than the president).



9
  In the 33 Cockrell School tenure cases from 2015-16 when Fenves became President of UT through 2018-19 when
Nikolova was denied tenure, Fenves always followed Dean Wood’s recommendation. Plaintiff’s MSJ Ex. 11, Tenure
Data Excel Spreadsheet provided to the Court on flash drive and Plaintiff’s Trial Exhibit 226; See also Dkt. 44-1 at
372, 384, Fenves Dep. 8:21-9:8, 57:3-10. Janeta Zoldan’s case, decided two years after Plaintiff’s tenure case and
after this lawsuit was filed, is the one time when President Fenves did not accept the recommendation of Dean Wood.
In that case, Dean Wood again recommended to deny tenure to a female assistant professor allegedly based on the
sustainability of funding, similar to Plaintiff Nikolova.


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Fenves reviewed the tenure cases at issue, voted on the tenure cases as part of the President’s

Committee, and had without question had input and influence on the tenure decisions at issue.

Additionally, Fenves, in his role as Provost, actually signed the “Recommendation for Change in

Academic Rank/Status” form memorializing the approval of tenure for all of the comparators. (See

e.g. Dkt. 44-4 at 22, 29, 39 etc.)

       To the extent Defendant’s objection is that these decisions, made in academic years 13-14

and 14-15 are “too remote in time,” Defendant has not provided any explanation how that timing

makes these tenure cases irrelevant or prejudicial. To the contrary, Dr. Nikolova began her

employment with UT in academic year 2013-14, observed the outcome of these tenure cases, and

accordingly should have been able to rely on decisions made during the years she was on the

“tenure track” at UT. Defendant UT certainly can present testimony and evidence to show that the

timing or the fact that case was decided under Powers “accounts for” the difference in treatment,

however, this an issue for the jury. Moreover, Defendant has presented no such evidence or

arguments to the Court at this stage to justify the exclusion of this evidence.

       IV.     Defendant UT Was Aware Of All Comparators, Plaintiff’s Interrogatory
               Response Was Sufficient, and Defendant’s Objection that Certain
               Comparators Were Not Disclosed In Plaintiff’s Interrogatories Should Be
               Overruled.

       Defendant objects that comparator evidence concerning Mikhail Belkin, Hsin-Chih Yeh,

Chadi El Mohtar, J. Eric Bickel, Andreas Gerstlauer, and Janeta Zoldan, should not be permitted

because they were not disclosed in response to Defendant’s Interrogatory Request No. 6.

However, Plaintiff’s response to this interrogatory specifically states that her comparators “include

but are not limited to” the individuals specifically identified. Additionally, Plaintiff stated in her

interrogatory that “Plaintiff refers Defendant to the tenure dossiers produced by Defendant” and

to “pleadings filed” in this case. Moreover, with the exception of assistant professor Janeta Zoldan,


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Plaintiff specifically identified all of the comparators at issue in her Response to Defendant’s

Motion for Summary Judgment filed more than four months ago on October 20, 2021. However,

President Fenves was questioned at length about Zoldan case in his deposition on May 27, 2021.

(Dkt. 44-1 at 391-93). There is absolutely no surprise to Defendant regarding any of these

comparators and Defendant’s objection should be denied.

       V.     Plaintiff’s Individual Comparator Exhibits Are Clearly Relevant And Show
              Favorable Treatment Under Nearly Identical Circumstances For Male
              Professors And A Female Professor Who Was Not Pregnant.

       In addition to the reasons set forth above why Plaintiff’s exhibits relating to other Assistant

Professors within the Cockrell School are relevant and admissible, Plaintiff offers the following

specific evidence and explanations regarding how the specific comparators were treated more

favorably that Nikolova under nearly identical circumstances:

 Zoya Heidari (Plaintiff’s Exhibits 130, 142–43, 175–180) (Female But Not Pregnant)

•   “Technically Earlier” Than Nikolova. (Dkt. 44-1 at 61-63).

•   Significantly lower grant funding than Nikolova. (Id.).

•   UT Honored Promise To Heidari To Go Up For Tenure Considering Time At TAMU.
    UT Made Same Commitment To Nikolova But Didn’t Honor. (Id.; Dkt. 44-1 at 69)

 Mikhail Belkin (Plaintiff’s Exhibits 144–45)

•   Low teaching evaluations Excused and Explained Away. (Dkt. 42-4 at 161)

 Mohit Tiwari (Plaintiff’s Exhibits 146–47)

•   Started at UT Same Academic Year As Nikolova, But 2.5 Years Less Teaching
    Experience/Time As Assistant Professor Than Nikolova. (Dkt. 44-2 at 164-78).

•   Advised and Allowed to Withdraw Probationary Extension After Deadline So Case
    Would Not Be Considered “Technically Early.” (Dkt. 44-3 at 134-42)

•   Low and “Oscillating” Teaching Scores Excused Because of Large Size of Class. (Dkt.
    44-2 at 164-78).



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•   Lower Grant Funding Trajectory Than Nikolova. (Dkt. 44-2 at 164-78).

•   Comparable H-Index and Lower Publication Numbers Than Nikolova. (Id.)

John Foster (Plaintiff’s Exhibits 148–49)

•   Excused Low Teaching Score By Pointing Out Large Class Size. (Dkt 44-2 at

Brady Cox (Plaintiff’s Exhibits 150–51)

    •   Also “Technically Early” similar to Nikolova. (Dkt. 44-3 at 1-11)

    •   Excused Low Student Evaluation Scores Including Blaming On Guest Lecturers.
        (Id.)

Navid Saleh (Plaintiff’s Exhibits 152–53)

    •   Also “Technically Early” similar to Nikolova. (Dkt. 44-3 at 13-21).

    •   “Concerns were expressed” about a drop in student ratings, but dismissed the
        concerns. (Id.)

    •   Lower total grant funding and funding trajectory than Nikolova. (Id.)

Ryosuke Okuno (Plaintiff’s Exhibits 154–55)

    •   Lower total grant funding and funding trajectory than Nikolova. (Dkt. 44-3 at
        255-62)

    •   No Federal funding unlike Nikolova. (Id.)

Salvatore Salamone (Plaintiff’s Exhibits 156–57)

    •   Lower total grant funding and funding trajectory than Nikolova. (Dkt. 44-3 at
        263-70)

Hsin-Chih Yeh (Plaintiff’s Exhibits 158–59)

    •   Lower total grant funding (considering costs higher for “applied research”) and
        lower funding trajectory than Nikolova. (Dkt. 44-3 at 271)

Nan Sun (Plaintiff’s Exhibits 160–61)

    •   ECE Department like Nikolova (Dkt. 44-4 at 1-10).



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   •   Accelerated case because of probationary extension like Nikolova. (Id.).

   •   Significantly lower H-index and citation count than Nikolova. (Id.).

   •   Lower grant funding trajectory (even more so considering costs higher for
       “applied research”) than Nikolova. (Id.).

Georgios-Alex Dimakis (Plaintiff’s Exhibits 164–65)

   •   ECE Department like Nikolova (Dkt. 44-4 at 22-28).

   •   Accelerated case because of probationary extension like Nikolova. (Id.).

   •   Comparable or lower grant funding trajectory than Nikolova. (Id.).

Todd Humphreys (Plaintiff’s Exhibits 166–67)

   •   Significantly lower grant funding trajectory than Nikolova. (Dkt. 44-4 at 29-38).

   •   “No competitive federal grants” unlike Nikolova. (Id.)

Chadi El Mohtar (Plaintiff’s Exhibits 168–69)

   •   Lower grant funding trajectory than Nikolova. (Dkt. 44-4 at 39-50).

   •   Several concerns noted by external reviewers. (Id.)

   •   Low graduate course student teaching evaluations. (Id.)

J. Eric Bickel (Plaintiff’s Exhibits 170–71)

   •   Lower grant funding trajectory than Nikolova. (Dkt. 44-4 at 51-59).

Andreas Gerstlauer (Plaintiff’s Exhibits 172–73)

   •   Lower grant funding trajectory than Nikolova. (Dkt. 44-4 at 60-69).

Janeta Zoldan (Plaintiff’s Exhibits 174)

   •   Female professor who was pregnant. (Dkt. 69-34).

   •   Dean Wood recommended against promotion in spite of strong votes from
       department budget council and P&T Committee. (Id.)




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        •    Fenves went against Wood for first time and granted promotion, after Nikolova
             suit was filed. (Id.)


 Sujay Sanghavi (Plaintiff’s Exhibit 235)

        •    Also “Technically Early” even more so than Nikolova. (Dkt. 44-4 at 179-189).

        •    ECE Department like Nikolova. (Id.)

        •    Below average student teaching evaluations. (Id.)

        •    Comparable H-index to Nikolova. (Id.)


            VI.     Defendant’s Objections to Plaintiff’s “Cumulative Exhibits” Should Be
                    Denied.

            Plaintiff has offered a number of exhibits that consist of selected documents from the

comparator tenure dossiers. 10 Plaintiff offered these to save time for both parties, the Jury and

Court to avoid having to go through the voluminous tenure dossiers and locate the relevant

documents during trial. Plaintiff has also offered the entire tenure dossiers so that the complete file

is available should either of the parties chose to refer to other documents. Defendant objected to

the selected document exhibits stating that should its substantive objections under Rule 401 and

403 be overruled, “UT Austin invokes Rule 106 and asks the Court to admit only the entire

dossier.” Plaintiff respectfully requests that the Court deny Defendant’s objections to the selected

document exhibits so that the trial may be conducted in as efficient manner as possible.

            VII.    Conclusion.

            Plaintiff has carefully selected comparator evidence that meets the “similarly

situated/nearly identical” standards in all ways. Plaintiff’s exhibits present relevant, admissible

evidence essential to her case that male Assistant Professors and a female Assistant Professor who


10
     Exhibits 142, 144, 146, 148, 150, 152, 154, 156, 158, 160, 162, 164, 166, 168, 170, and 172.

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was not pregnant in the Cockrell School were treated more favorable by Dean Wood and Former

President and Provost Fenves under similar and nearly identical circumstances. As the Fifth Circuit

has clearly held, any alleged differences in the comparators that accounts for the difference in

treatment raise fact issues for the jury to consider and determine. Wallace, 777 F. App'x at 89

(“whether two employees are ‘similarly situated’ generally presents a question of fact for the

jury.”) Defendant’s objections should be overruled.

                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2022, this document was served pursuant to Federal
Rules of Civil Procedure on counsel for Defendant through the Court’s electronic filing system at
the following address:

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